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                    UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
IN RE:
                                                   Case No.: 16-40877
        Maria D. Ponce
                                                   Chapter: 13

                                      Debtor(s)    Judge Timothy A. Barnes


 NOTICE OF FORBEARANCE AGREEMENT DUE TO THE COVID-19 PANDEMIC


       NOW COMES PennyMac Loan Services, LLC (“Creditor”), by and through

undersigned counsel, and hereby submits this Notice of Forbearance Agreement to the Court

regarding the Debtor’s request for mortgage payment forbearance based upon a material

financial hardship caused by the COVID-19 pandemic.

       The Debtor recently requested a forbearance period of 3 months in which the Debtor will

not tender mortgage payments to Creditor that would come due on the mortgage starting

05/01/2020 through 07/01/2020. Creditor holds a secured interest in real property commonly

known as 3624 W. 56th Street, Chicago, IL 60629. Creditor, at this time, does not waive any

rights to collect the payments that come due during the forbearance period after the forbearance

plan ends.   Furthermore, Creditor does not waive its rights under other applicable non-

bankruptcy laws and regulations, including, but not limited to, RESPA, and the right to collect

any post-petition escrow shortage. During the forbearance period Creditor may continue to file

notices in compliance with Fed. Rule Bankr. P. 3002.1.

       Because of the uncertainties surrounding how long this pandemic will last, Creditor will

work with Debtor or Debtor’s counsel to determine when Debtor will be able to resume making

mortgage payments and when/how the Debtor will cure the delinquency created by the

forbearance period (“forbearance arrears”). Once the forbearance plan ends and the Creditor and
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Debtor or Debtor’s counsel agree on an appropriate repayment or loss mitigation program,

Creditor will file a notice or an amended/supplemental claim consistent with local practice.

         Creditor does not waive its rights to seek relief from the automatic stay for reasons other

than non-payment of the Mortgage, including, but not limited to, a lapse in insurance coverage or

non-payment of property taxes.



                                                              Respectfully Submitted,
                                                              Codilis & Associates, P.C.


                                                              By: /s/ Karl Meyer

                                                              Berton J. Maley ARDC#6209399
                                                              Rachael A. Stokas ARDC#6276349
                                                              Peter C. Bastianen ARDC#6244346
                                                              Joel P. Fonferko ARDC#6276490
                                                              Brenda Ann Likavec ARDC#6330036
                                                              Karl V. Meyer ARDC#6220397
                                                              Grant W. Simmons ARDC#6330446
                                                              Codilis & Associates, P.C.
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                                                              Burr Ridge, IL 60527
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                                                              14-16-05260


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                                           CERTIFICATE OF SERVICE


        The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of
Debtor’s Request for Forbearance upon the parties listed below, as to the Trustee and Debtor's
attorney via electronic notice on June 12, 2020 and as to the debtor by causing same to be mailed
in a properly addressed envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL
60527 before the hour of 5:00 PM on June 12, 2020.
  Marilyn O Marshall, Chapter 13 Trustee, 224 South Michigan Ste 800, Chicago, IL 60604 by electronic
  notice through ECF
  Maria D. Ponce, Debtor(s), 3624 W. 56th Street, Chicago, IL 60629
  Joseph Davidson, Attorney for Debtor(s), 2500 South Highland AveSuite 200, Lombard, IL 60148 by
  electronic notice through ECF




                                                                 /s/ Karl Meyer
                                                                   Attorney for Movant

Berton J. Maley ARDC#6209399
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